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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           WAYCROSS DIVISION



              UNITED STATES OF AMERICA


                    vs.                                             CASE NUMBER.: CR592-29

              BENJAMIN LASHAWN COOPER



                                                    ORDER

                    Benjamin Cooper ("Cooper"), an inmate currently incarcerated at the Federal

              Medical Center in Lexington, Kentucky, filed a Motion entitled "Rule 60(b) Motion and

              Combined Affidavit for the Court to Adjudicate the Bailey Claim Previously Filed Under §

              2255." The government filed a Response. On April 5, 2012, the Magistrate Judge

              recommended that Cooper's Rule 60(b) Motion be dismissed as untimely. The next

              day, Cooper's Reply to the government's Response was filed. This document was also

              docketed as an Objection to the Magistrate Judge's Report and Recommendation.

                    Cooper's Reply to the government's Response does not address the Magistrate

              Judge's determination that his Rule 60(b) Motion was untimely or otherwise respond to

              the Magistrate Judge's Report. Instead, Cooper's Reply only asserts that the

              government's contention that Cooper's 1996 motion, brought pursuant to 28 U.S.C. §

              2255, did not assert a claim under Bailey v. United States, 516 U.S. 137 (1995), is

              inaccurate. The Magistrate Judge's recommendation of dismissal was based on the

              untimeliness of Cooper's Rule 60(b) Motion; Cooper's Reply to the government's

              Response has no effect on the determination regarding the timeliness of his Motion.


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                    The deadline for filing objections to the Magistrate Judge's Report has passed.

              (Doc. No. 1088). The Report and Recommendation of the Magistrate Judge is adopted

              as the Opinion of the Court. Cooper's Rule 60(b) Motion is DISMISSED as untimely.

              The Clerk of Court is directed to enter the appropriate judgment of dismissal.

                    SO ORDERED, this      /O    day of
                                                              44,
                                                           /i'(ttVL               ,2012.




                                                              RON BLEIRADAL HALL
                                                              UNITE/b STATES DISTRICT JUDGE




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